      Case 19-51973-lrc        Doc 31 Filed 09/06/19 Entered 09/06/19 09:02:37                       Desc Debtor
                                    Failed to Comply - 13 Page 1 of 1

                                    UNITED STATES BANKRUPTCY COURT

                                             Northern District of Georgia


In     Debtor(s)
Re:    Allen Laurence Richardson                             Case No.: 19−51973−lrc
       574 Haralson Drive SW                                 Chapter: 13
       Lilburn, GA 30047                                     Judge: Lisa Ritchey Craig

       xxx−xx−3283




                                              ORDER OF DISMISSAL



The Chapter 13 Trustee reports that the Debtor(s) has failed to comply with the direction of the Court. Therefore,

IT IS ORDERED THAT THIS CASE IS DISMISSED.

Any unpaid filing fees must be paid by the Debtor(s) to the Clerk of the United States Bankruptcy Court within
fourteen (14) days of the date of the entry of this Order.

The Clerk is directed to serve a copy of this Order on the Debtor(s), the Attorney for the Debtor(s), the Chapter 13
Trustee, all creditors and other parties in interest. The Attorney for the Debtor(s) shall serve a copy of this Order upon
any employer of the Debtor(s) who is subject to an employer deduction order.




                                                             Lisa Ritchey Craig
                                                             United States Bankruptcy Judge

Dated: September 6, 2019


Form 157
